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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                            Civ. A. No. 3:18-cv-01681 (SRU)
NORDEA INVESTMENT MANAGEMENT AB,

           Plaintiff,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

           Defendants.

                                            Civ. A. No. 3:18-cv-01721 (SRU)
STATE OF ALASKA DEPARTMENT OF
REVENUE, TREASURY DIVISION, et al.,

           Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.

                                            Civ. A. No. 3:18-cv-01956 (SRU)
PACIFIC FUNDS SERIES TRUST and PACIFIC
SELECT FUND,

           Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.
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                                        Civ. A. No. 3:19-cv-00175 (SRU)
PUBLIC SCHOOL TEACHERS’ PENSION
AND RETIREMENT FUND OF CHICAGO,

          Plaintiff,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                        Civ. A. No. 3:19-cv-00192 (SRU)
SCHWAB CAPITAL TRUST and SCHWAB
STRATEGIC TRUST,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                        Civ. A. No. 3:19-cv-00449 (SRU)
THE PHOENIX INSURANCE COMPANY
LTD., et al.,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.
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                                         Civ. A. No. 3:19-cv-00513 (SRU)
MIVTACHIM THE WORKERS SOCIAL
INSURANCE FUND LTD., et al.,

            Plaintiffs,

      v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.

                                         Civ. A. No. 3:19-cv-00543 (SRU)
CLAL INSURANCE COMPANY LTD., et al.,

            Plaintiffs,

      v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.

HIGHFIELDS CAPITAL I LP., et al.,
                                         Civ. A. No. 3:19-cv-00603 (SRU)
            Plaintiffs,

      v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.

                                         Civ. A. No. 3:19-cv-00655 (SRU)
MIGDAL INSURANCE COMPANY LTD., et
al.,

            Plaintiffs,

      v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

            Defendants.
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                                        Civ. A. No. 3:19-cv-00656 (SRU)
HAREL PENSION AND PROVIDENT LTD., et
al.,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                        Civ. A. No. 3:19-cv-00657 (SRU)
STATE OF OREGON BY AND THROUGH
THE OREGON STATE TREASURER AND
THE OREGON PUBLIC EMPLOYEE
RETIREMENT BOARD, ON BEHALF OF THE
OREGON PUBLIC EMPLOYEE RETIREMENT
FUND,

          Plaintiffs,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.

                                        Civ. A. No. 3:19-cv-00923 (SRU)
MIGDAL MUTUAL FUNDS, LTD.

          Plaintiff,

     v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

          Defendants.
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                                         Civ. A. No. 3:19-cv-01167 (SRU)
 PSAGOT MUTUAL FUNDS, LTD., and
 PSAGOT PROVIDENT FUNDS & PENSION
 LTD.,

           Plaintiffs,

      v.

 TEVA PHARMACEUTICAL INDUSTRIES
 LTD., et al.,

           Defendants.

                                         Civ. A. No. 3:19-cv-01173 (SRU)
 STICHTING PGGM DEPOSITARY and
 STICHTING PENSIOENFONDS ZORG EN
 WELZIJN,

           Plaintiffs,

      v.

 TEVA PHARMACEUTICAL INDUSTRIES
 LTD., et al.,                           December 20, 2019

           Defendants.



  THE DIRECT ACTION PLAINTIFFS’ JOINT OPPOSITION TO DEFENDANTS’
MOTIONS TO CONSOLIDATE THE DIRECT ACTIONS WITH THE CLASS ACTION
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       Plaintiffs in the above-captioned actions (the “Direct Action Plaintiffs”) respectfully

submit this joint opposition to Defendants’ motions to consolidate for pre-trial purposes Plaintiffs’

respective actions (the “Direct Actions”) with the putative class action styled Ontario Teachers’

Pension Plan Board, et. al. v. Teva Pharmaceutical Industries Ltd. et. al., No. 3:17-cv-00558

(SRU) (the “Class Action”).

                                        INTRODUCTION

       The Direct Action Plaintiffs are investors who suffered significant losses as a result of

Defendants’ securities fraud. Rather than remain as passive members of the putative class, the

Direct Action Plaintiffs have exercised their constitutional right to file their own actions against

Defendants, in some cases bringing individual claims that have not been asserted by the plaintiffs

leading the Class Action (the “Class”).

       The Direct Action Plaintiffs share Defendants’ desire to prosecute their claims efficiently,

avoid duplicative and expensive discovery, and preserve judicial resources. In that vein, the Direct

Action Plaintiffs attempted to negotiate a proposed order with defense counsel to set up an efficient

case management structure whereby discovery in the Class Action and the Direct Actions would

be coordinated. The parties exchanged drafts of a proposed coordination order, and the Direct

Action Plaintiffs fully expected that they would be able to reach agreement with Defendants on a

proposed coordination order to submit to this Court. However, Defendants abruptly abandoned

these negotiations last Friday evening and instead filed their consolidation motion that same

evening with the Court without ever meeting and conferring with the Direct Action Plaintiffs about

consolidation.

       As explained in more detail below, entering Defendants’ proposed consolidation order

would prejudice those Direct Action Plaintiffs who have brought claims that cannot be pursued on
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a class-wide basis. Moreover, Defendants’ proposed order effectively disenfranchises the Direct

Action Plaintiffs by severely curtailing their participation in the prosecution of their own claims.

The Draconian consolidation order proposed by Defendants is unnecessary to achieve the case

management and efficiency goals that all parties desire, and instead would prejudice the Direct

Action Plaintiffs’ substantive rights. A more reasonable and practical case management solution

is an order that requires the parties to coordinate discovery with the Class Action in a manner that

prevents duplication of effort and expense – as Defendants originally proposed but then abruptly

abandoned without explanation – but that still provides the Direct Action Plaintiffs with an

opportunity to seek information relevant to their claims by making modest changes to Defendants’

proposed framework for discovery. Accordingly, the Direct Action Plaintiffs respectfully request

that the Court enter an order that coordinates – but does not consolidate – the Direct Action

Plaintiffs’ actions with the Class Action, and provides the Direct Action Plaintiffs with limited

discovery rights. A copy of a proposed coordination order is attached hereto as Exhibit A. A

comparison of the proposed coordination order with Defendants’ proposed consolidation order is

attached here to as Exhibit B.

                                      COUNTER-PROPOSAL

    I.      Coordination of the Direct Actions – Not Consolidation – with the Class Action Is
            Appropriate

         The order should provide for coordination rather than consolidation of the Direct Actions

with the Class Action for a number of related reasons. First, eight of the fifteen Direct Actions

include claims that the securities class actions do not (and perhaps could not) assert. These include

claims based on state or common law and also claims based on Israeli law.1 Second, consolidation


1
 The eight Direct Actions with state law claims are: (1) Clal Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., No.
19-cv-543-SRU; (2) Harel Pension and Provident Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-656-SRU;
(3) Highfields Capital I LP v. Teva Pharm. Indus. Ltd., No. 19-cv-603-SRU; (4) Migdal Insurance Co. Ltd.

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(rather than coordination) would put those state law claims asserted in the Direct Actions at risk

of preclusion under the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”), which

would be unfair and unnecessary since coordination will achieve the same procedural outcome of

ensuring orderly discovery and pretrial motion practice without putting the Direct Action

Plaintiffs’ state law claims at risk.

        Consolidation is inappropriate where it would prejudice a party. See Liberty Media Corp.

v. Vivendi Universal, S.A., 842 F. Supp. 2d 587, 592 (S.D.N.Y. 2012) (collecting cases and quoting

the Second Circuit’s finding that a consolidation order was inappropriate when it “goes beyond

these permissible objectives” of avoiding duplicative pretrial discovery “to deny a party his due

process right to prosecute his own separate and distinct claims . . . without having them so merged

into the claims . . . of others that irreparable injury will result” (citation omitted)). Courts have

held that an individual plaintiff’s state or common law claims should be dismissed under SLUSA,

15 U.S.C. §78bb(f), when those claims are consolidated with a pending securities class action.

See, e.g., Backus v. Conn. Cmty. Bank, N.A., 789 F. Supp. 2d 292, 301 (D. Conn. 2011). Given

the unnecessary risk of prejudice to many of the Direct Action plaintiffs, coordination rather than

consolidation is the appropriate approach here. There is nothing with regard to the administration


v. Teva Pharm. Indus. Ltd., No. 19-cv-655-SRU; (5) Migdal Mutual Funds, Ltd. v. Teva Pharm. Indus. Ltd.,
No. 19-cv-923-SRU; (6) Mivtachim The Workers Social Ins. Fund Ltd. v. Teva Pharm. Indus. Ltd., No. 19-
cv-513-SRU, (7) The Phoenix Insurance Co., Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-449-SRU; and (8)
Psagot Provident Funds & Pension Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-1167-SRU. All such actions
have brought claims under the Pennsylvania Securities Act of 1972 and/or claims under state common law.

The nine Direct Actions with Israeli law claims are: (1) Clal Ins. Co. Ltd. v. Teva Pharm. Indus. Ltd., No.
19-cv-543-SRU; (2) Harel Pension and Provident Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-656-SRU;
(3) Migdal Insurance Co. Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-655-SRU; (4) Migdal Mutual Funds,
Ltd. v. Teva Pharm. Indus. Ltd., No. 19-cv-923-SRU; (5) Mivtachim The Workers Social Ins. Fund Ltd. v.
Teva Pharm. Indus. Ltd., No. 19-cv-513-SRU, (6) The Phoenix Insurance Co., Ltd. v. Teva Pharm. Indus.
Ltd., No. 19-cv-449-SRU; (7) Psagot Provident Funds & Pension Ltd. v. Teva Pharm. Indus. Ltd., No. 19-
cv-1167-SRU; (8) Schwab Capital Tr. and Schwab Strategic Tr. v. Teva Pharma. Indus. Ltd., 19-cv-192-
SRU; and (9) Stichting PGGM Depositary and Stichting Pensioenfonds Zorg En Welzijn v. Teva Pharma.
Indus. Ltd., 19-cv-1173-SRU.

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of the cases that coordination lacks when compared with consolidation. Indeed, when asked about

this issue before Defendants’ filing of the current motion, defense counsel could offer no need

whatsoever for consolidation over coordination.

         Furthermore, even the materials submitted to the Court by Defendants in connection with

their motion support this outcome. In the Bear Stearns case management order submitted as

Exhibit E to Defendants’ motion, the court coordinated rather than consolidated a direct action

with the securities class action and other direct actions, in response to that individual plaintiff’s

objection explaining that it had asserted claims that did not identically overlap with the class and

because of the risk of SLUSA preclusion. See Joint Motion to Consolidate Related Actions, Ex.

E at 3; Plaintiff’s Objection to Consolidation, Sherman v. Bear Stearns Cos. Inc., No. 1:09-cv-

08161-RWS (S.D.N.Y. Oct. 9, 2009), ECF No. 4. The same outcome is appropriate here. Either

all of the Direct Actions should be coordinated or those Direct Actions that have claims that are

non-identical to the class claims (after the opportunity to amend passes) should be coordinated

(rather than consolidated) with the Class Action.

   II.      The Direct Action Plaintiffs Should Be Permitted to Take Limited, Non-
            Duplicative Discovery

            A. Written Discovery

         Paragraphs 11-13 of Defendants’ proposed consolidation order would flatly prohibit the

Direct Action Plaintiffs from serving any documents requests, document subpoenas,

interrogatories, or requests for admission. Instead, the document requests, document subpoenas,

interrogatories or requests for admission served by the Class would be the only written discovery

propounded on Defendants. However, many of the Direct Action Plaintiffs have additional claims

that are different from the claims asserted by the Class. Thus, the Direct Action Plaintiffs and the

Class’s interests are not completely aligned, and the Direct Action Plaintiffs need access to


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discovery from Defendants that the Class has no reason to pursue. The Direct Action Plaintiffs

therefore request that they be permitted to serve non-duplicative written discovery requests to

supplement the Class’s requests.

       B. Depositions

       Paragraph 24 of Defendants’ proposed consolidation order prohibits the Direct Action

Plaintiffs from asking questions at a deposition unless Class counsel refuses to ask that question

on behalf of the Direct Action Plaintiffs. This framework is unworkable because it will require

multiple consultations between counsel during deposition breaks that will unnecessarily prolong

depositions. The Direct Action Plaintiffs should be afforded a reasonable opportunity at the end

of the deposition to ask those questions. This framework has proven to be successful in numerous

other cases where the class plaintiffs and opt-out plaintiffs coordinated discovery. Examples of

the framework used in two such cases are attached hereto as Exhibit C (Ir re Allergan Generic

Drug Pricing Secs. Litig. (D.N.J.)) and Exhibit D (Roofers’ Pension Fund v. Papa and Perrigo

Company plc, No. 2:26-cv-2805 (D.N.J.)).

       C. Document Productions

       In Paragraph 21 of Defendants’ proposed consolidation order, Defendants propose that the

documents they produce be housed on an online document repository managed by Class counsel,

and that in order to obtain copies of those documents, the Direct Action Plaintiffs must pay

“duplication” costs. This imposes an impractical framework that imposes unnecessary costs.

There is no reason why Defendants cannot make all document productions available to all parties

at the same time for electronic download via an FTP site.

                                        CONCLUSION

       For the foregoing reasons, the Direct Action Plaintiffs respectfully request that the Court



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deny Defendants’ motions to consolidate their respective actions with the Class Action, and instead

enter the proposed coordination order attached hereto as Exhibit A.



Dated: December 20, 2020                             Respectfully submitted,

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